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 7 United States of America
 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                            CASE NO. 2:16-CR-00038 MCE

12                                Plaintiff,            STIPULATED REQUEST AND ORDER
                                                        CONTINUING RESTITUTION HEARING TO
13                          v.                          APRIL 19, 2018

14 JAMAL SHEHADEH,                                      DATE: March 29, 2018
                                                        TIME: 10:00 a.m.
15                               Defendants.            COURT: Hon. Morrison C. England, Jr.
16
17          By previous order, the Court set the restitution hearing for defendant Jamal Shehadeh for March

18 29, 2018, at 10:00 a.m. The parties hereby stipulate and request that the restitution hearing for
19 defendant Jamal Shehadeh be continued to April 19, 2018, at 10:00 a.m.
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      STIPULATED REQUEST AND ORDER CONTINUING            1
30    RESTITUTION HEARING
          Case 2:16-cr-00038-DC-CKD Document 237 Filed 04/02/18 Page 2 of 2


 1   Dated: March 27, 2018                               MCGREGOR W. SCOTT
                                                         United States Attorney
 2

 3                                                By: /s/ CHRISTOPHER S. HALES
                                                      MICHAEL D. ANDERSON
 4                                                    CHRISTOPHER S. HALES
                                                      Assistant United States Attorneys
 5
     Dated: March 27, 2018
 6                                                       /s/ MATTHEW BOCKMON
                                                         BENJAMIN GALLOWAY
 7                                                       MATTHEW BOCKMON
                                                         SEAN RIORDAN
 8                                                       Attorneys for Defendant Jamal
                                                         Shehadeh
 9
10
11                                               ORDER

12         Upon stipulated request of the parties, IT IS HEREBY ORDERED that the restitution hearing for

13 defendant Jamal Shehadeh be continued to April 19, 2018 at 10:00 a.m.
14         IT IS SO ORDERED.

15 Dated: March 30, 2018
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      STIPULATED REQUEST AND ORDER CONTINUING        2
30    RESTITUTION HEARING
